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                       UNITED STATES DISTRICT COURT

                      EASTERN DISTRICT OF LOUISIANA

KINNIE FULTZ          *   CIVIL ACTION NO.:
                      *
                      *
VERSUS                *   SECTION:
                      *
THE UNITED STATES     *
OF AMERICA            *
                      *
************************************************

                                    COMPLAINT

      COME NOW Plaintiff, KINNIE FULTZ by and through undersigned counsel,

who files this Complaint against the Defendant, THE UNITED STATES OF AMERICA,

and in support thereof would show the following:

                           JURISDICTION AND VENUE

      1.     This cause of action arises under the Federal Tort Claims Act (hereinafter

             referred to as the FTCA), Title 28, United States Code, Section 2671 et seq.

      2.     This Court has jurisdiction over the parties and the subject matter pursuant

             to Title 28, United States Code, Sections 1346(b) and 1402(b).

      3.     Defendants complained of negligent acts and omissions occurred within the

             Parish of Orleans, State of Louisiana.

      4.     Pursuant to Title 28, United States Code, Section 2672, Plaintiff has

             submitted an administrative claim for the negligence encompassing the

             allegations contained herein to the Department of Veterans Affairs, Medical

             Center Director, THIS Complaint was received on, or about, October 13,

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      2020 within two (2) years of the date of accident complained of herein. On

      March 30. 2021, said administrative claim was denied by the Defendant.

5.    Venue is proper in the United States District Court for the Eastern District of

      Louisiana pursuant to Title 28, United States Code, Section 1402(b).

6.    Service of process on the Defendant may be accomplished pursuant to Rule

      4 of the Federal Rules of Civil Procedure.

                         PARTIES TO ACTION

7.    Plaintiff, Kinnie Fultz, is an adult resident citizen of Orleans Parish, State of

      Louisiana.

8.    The United States of America and its unknown employees and/or physicians

      who are and/or were employed by the Veterans Administration Hospital in

      New Orleans, Louisiana and at all times were acting within the course and

      scope of their employment at the Veterans Administration Hospital in New

      Orleans, Louisiana, an agency of the Department of Veterans Affairs, which

      is an agency of the Defendant United States of America.

                                  FACTS

9.    On or about September 17, 2020 in Orleans Parish, State of Louisiana,

      Plaintiff, Kinnie Fultz, a U.S. Veteran, sought treatment at the VA Urgent

      Care, part of the Southeast Louisiana Veterans Health Care Center, and

      which was located at 2400 Canal Street, New Orleans, Louisiana 70119

      (hereafter referred to as “Urgent Care”).



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10.   Mr. Fultz was in pain and had an itching around his waist. He was treated by

      the staff of the Urgent Care and was prescribed Ketoconazole 2% cream and

      Desonide 0.05% cream to be applied to his back and waist.

11.   Mr. Fultz applied the medication as directed and it was ineffective. As a

      result, Mr. Fultz returned to Urgent Care on September 22, 2020.

12.   Upon his return on September 22, 2020, Mr. Fultz had swelling to his face

      and head. He was once again directed to use the Ketoconazole and Desonide

      on his face.

13.   On September 25, 2020, Mr. Fultz returned, again, to Urgent Care with facial

      swelling, itching, redness and dryness. He also complained of pain on his

      forehead from the swelling. The lotion was used on his face in addition to the

      topical corticosteroids and ketoconazole cream per previous physician

      recommendations. The topical antihistamine did not help, but IV Benadryl

      has decreased pruritus while in the hospital. Additionally, his lower lip had

      edema and the attending physician told Petitioner to take a selfie and look at

      it.

14.   On September 28, 2020, Petitioner returned to Urgent Care, his rash had

      worsened. Petitioner was prescribed hydroxine and Lubriderm. A telederm

      visit was completed, with them prescribing me triamcinolone cream. It was

      also suggested that Petitioner try other topical emollients (e.g. Petroleum

      jelly) three times a day in the meantime.



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15.   On September 29, 2020, at 17:00, Petitioner contacted the Director of

      Southeast Louisiana Veterans Health Care System. Mr. Fernando Rivera, by

      email and also sent him a picture of his face to him by text. The email stated

      that:

      My name is Kinnie Fultz, and I am a veteran that obtain all medical

      services at the Southeast Louisiana Medical Center. I have received

      services twice this week from VA’s Urgent Care and today from the

      dermatology department. For the last week, I have been having facial

      swelling, itching, and facial disfiguration and they can’t seem to find

      out what is wrong with me. Today they took pictures of my face, and

      told me to come back on Friday. I really don’t think I can wait until

      Friday. Please help me! I really just need for someone to find out

      what is going on with me. I am itching and swelling by the hour. My

      wife says my face is changing in a matter of hours. I don’t even look

      like myself anymore just in this one week. You can contact me at

      504-756-4772 or email at kinnie.fultz1957@yahoo.com My wife,

      Tonya Fultz’s number is 504-214-0570. I am also sending an email

      to Senator Bill Cassidy. Thank you for your continued dedication to

      all veterans!

16.   Mr. Rivera immediately responded through email at 17:24 stating that he will

      follow up.      At 19:10 a doctor called Petitioner from the dermatology

      department at the VA and asked a series of questions such as was Petitioner’s

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       throat feeling like it was closing, etc. The doctor then told Petitioner to come

       in the next morning (September 30, 2020) at 08:30 to the dermatology

       department.

17.    Unfortunately, Petitioner had to go in that night (September 29, 2020) back

       to Urgent Care and they admitted him and put him in ICU. Petitioner’s facial

       rash and edema had worsened and he was given epi, IV solumedrol, IV

       Benadryl, IV Pepcid and 1L of NS fluids.

18.    Due to the use of the prescribed steroids, Petitioner’s glucose spiked to

       greater than 500.

19.    It was determined that on September 30, 2020, while in the hospital in ICU

       that Petitioner’s current dermatitis, was the etiology of his angioedema and

       his current topical regimen (triamcinolone and ketoconazole cream) was

       making his dermatitis worse and caused his glucose to spike >500. It was

       further determined that Petitioner never should have been given these

       steroids because of his pre-existing diabetes and definitely not in my face.

       The Rapid Response nurses continued to monitor Petitioner for 72 hours after

       transferring from ICU to the medicine/overflow.

 20.   On October 1, 2020, Petitioner was discharged from the hospital and told to

       stop taking ketoconazole and desonide, and to avoid all creams and topical

       medicines to the affected area. Petitioner was advised to use Cerave or

       Cetaphil gentle cleanser at night prior to application of Aquaphor and

       triamcinolone. The new medications he was prescribed were to be taken in

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              three parts Aquaphor and 1 part Triamcinolone mixed in hand and applied to

              the affected area on the face twice daily.

       21.    Petitioner submits that the defendants wrongfully prescribed medicine given

              by the VA to a diabetic patient (I should not be given steroids), wrong

              information was listed/stated in the progress notes.

       22.    As a result of the defendants’ negligence, Petitioner has suffered physical

              pain and mental anguish, uncontrollable itching and swelling on my head

              causing me and my wife to loss sleep, fear for my life, loss of chance,

              permanent scarring and pain

       23.    Petitioner served in the Army for December 2, 1980, to December 1, 1983.

       24.    As a result of the foregoing, plaintiff Kinnie Fultz has suffered physical pain

              and mental anguish; he has sustained injuries; he does, and will continue to

              require medical attention; these conditions may continue, worsen, or become

              permanent; the full residuals and sequelae of these injuries are not, as yet,

              fully known, but will be severe; all of which are to Plaintiff’s damage in the

              amount to be determined upon the trial of this cause.

                                    COUNT 1
                            FEDERAL TORT CLAIMS ACT

       Plaintiff realleges each and every allegation contained in paragraphs numbered 1

through 22 above, as if fully set forth herein.

       25.    If the defendant were a private person/entity, it would be liable to Plaintiff in

              accordance with the laws of the State of Louisiana.


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       26.    Plaintiff is free from any act, or acts, of negligence contributing to the

              proximate cause of his complained of damages.

       27.    Defendants complained of acts and omissions constitute negligence as set

              forth in the State of Louisiana’s Civil Code Article 2315 and Louisiana RS

              Article 40:1299.41, et seq.

       WHEREFORE, Plaintiff, prays that this Court award him damages in the amount

of: FOUR HUNDRED FIFTY THOUSAND AND NO/100 DOLLARS ($450,000.00);

together with all medical bills and future medical bills and whatever further, different of

additional relief as this Honorable Court should deem just and proper.

                                            Respectfully Submitted:


                                             /s/ J. Michael Daly, Jr.
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